Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 1 of 13




                        EXHIBIT 12-B
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 2 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 3 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 4 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 5 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 6 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 7 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 8 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 9 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 10 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 11 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 12 of 13
Case 23-34815 Document 846-17 Filed in TXSB on 12/04/24 Page 13 of 13
